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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


LARRY P. CORNIELS,

                Plaintiff,
                                                          File no: 1:20-cv-961
v.
                                                          HON. ROBERT J. JONKER
COMMISSIONER OF
SOCIAL SECURITY,

                Defendant.
                                  /


                             ORDER APPROVING MAGISTRATE'S
                              REPORT AND RECOMMENDATION


         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties. No objections have been filed under 28 U.S.C. § 636(b)(1)(C).

         NOW THEREFORE, the Report and Recommendation (ECF No. 24) is hereby adopted

as the opinion of the Court.

         THEREFORE, IT IS ORDERED that:

         The decision of the Commissioner of Social Security is hereby AFFIRMED.




Dated:      December 18, 2021               /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE
